Case 2:24-cv-00572-JRG      Document 41-1       Filed 10/28/24   Page 1 of 6 PageID #: 618




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


                                            §
  ADVANCED CODING TECHNOLOGIES,             §      Case No. 2:24-cv-00572-JRG
  LLC,                                      §      (LEAD CASE)
                                            §
                         Plaintiff,         §      JURY TRIAL DEMANDED
                                            §
                V.                          §
                                            §
  APPLE INC.,                               §
                                            §
                         Defendant.         §

                                            §
  ADVANCED CODING TECHNOLOGIES,             §      Case No. 2:24-cv-00687-JRG
  LLC,                                      §      (MEMBER CASE)
                                            §
                         Plaintiff,         §      JURY TRIAL DEMANDED
                                            §
                v.                          §
                                            §
  APPLE INC.,                               §
                                            §
                         Defendant.         §
                                            §



         DECLARATION OF STEPHANIE DOCKENDORF IN SUPPORT OF
              DEFENDANT APPLE INC.'S MOTION TO DISMISS
Case 2:24-cv-00572-JRG   Document 41-1   Filed 10/28/24   Page 2 of 6 PageID #: 619
Case 2:24-cv-00572-JRG   Document 41-1   Filed 10/28/24   Page 3 of 6 PageID #: 620
Case 2:24-cv-00572-JRG   Document 41-1   Filed 10/28/24   Page 4 of 6 PageID #: 621
Case 2:24-cv-00572-JRG   Document 41-1   Filed 10/28/24   Page 5 of 6 PageID #: 622
Case 2:24-cv-00572-JRG   Document 41-1   Filed 10/28/24   Page 6 of 6 PageID #: 623
